                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


  STUDENTS FOR FAIR
  ADMISSIONS, INC.,

                            Plaintiff,

                       v.
                                                     1:14CV954

  UNIVERSITY OF NORTH
  CAROLINA, et al.,

                            Defendants.



                                          JUDGMENT

         This matter is before the Court on the Joint Motion for Entry of Judgment. (ECF No.

276.)

         IT IS ORDERED, ADJUDGED, AND DECREED that JUDGMENT is hereby

entered in favor of Plaintiff Students for Fair Admissions, as follows:

         UNC-Chapel Hill’s consideration of race as a factor in undergraduate admissions shall

be governed by the majority decision of the United States Supreme Court in this case.

         This, the 1st day of December 2023.



                                            /s/ Loretta C. Biggs
                                            United States District Judge




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